           20-12345-scc            Doc 1             Filed 10/01/20 Entered 10/01/20 00:08:59                             Main Document
                                                                   Pg 1 of 5
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

  6RXWKHUQ
 ____________________              1HZ<RUN
                      District of _________________
                                        (State)
                                                             
 Case number (If known): _________________________ Chapter _____                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                                 7KH5RPDQ&DWKROLF'LRFHVHRI5RFNYLOOH&HQWUH1HZ<RUN
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used                'LRFHVHRI5RFNYLOOH&HQWUH
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                    1       1    8 3      7 4
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                                                                   3 7
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business
                                                  1RUWK3DUN$YHQXH
                                              ______________________________________________               _______________________________________________
                                              Number     Street                                            Number     Street

                                                                                                            32%R[
                                                                                                           _______________________________________________
                                              ______________________________________________
                                                                                                           P.O. Box

                                                  5RFNYLOOH&HQWUH1<
                                              ______________________________________________
                                                                                                            5RFNYLOOH&HQWUH1<
                                                                                                           _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                                  1DVVDX
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                          ZZZGUYFRUJ
                                              ____________________________________________________________________________________________________




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Debtor
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             _______________________________________________________                          Case number   (if known)_____________________________________
              Name



                                          [ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          
 6.   Type of debtor
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          [ None of the above
                                          

                                          B. Check all that apply:
                                          [ Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                          8    1     3    1
                                          ___ ___ ___ ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          [ Chapter 11. Check all that apply:
                                          
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           
                                                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




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Debtor
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              _______________________________________________________                           Case number   (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases           [ No
                                             
       filed by or against the debtor
       within the last 8 years?               Yes.    District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY

 10.   Are any bankruptcy cases              [ No
                                             
       pending or being filed by a
       business partner or an                 Yes.    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                        District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                           MM / DD / YYYY
       attach a separate list.                         Case number, if known ________________________________



 11.   Why is the case filed in this         Check all that apply:
       district?
                                             [ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             
                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                              A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have           [ No
                                             
       possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______ ________________
                                                                                City                                            State ZIP Code


                                                      Is the property insured?

                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




               Statistical and administrative information




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Debtor
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             _______________________________________________________                             Case number   (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                   [ Funds will be available for distribution to unsecured creditors.
                                         
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                              1,000-5,000                                 25,001-50,000
 14.   Estimated number of                50-99                             5,001-10,000                                50,001-100,000
       creditors
                                          100-199                           10,001-25,000                               More than 100,000
                                         [ 200-999
                                         

                                          $0-$50,000                        $1,000,001-$10 million                      $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                  $10,000,001-$50 million                     $1,000,000,001-$10 billion
                                          $100,001-$500,000                 $50,000,001-$100 million                    $10,000,000,001-$50 billion
                                          $500,001-$1 million              [ $100,000,001-$500 million
                                                                                                                         More than $50 billion

                                          $0-$50,000                        $1,000,001-$10 million                      $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                  $10,000,001-$50 million                     $1,000,000,001-$10 billion
                                          $100,001-$500,000                 $50,000,001-$100 million                    $10,000,000,001-$50 billion
                                          $500,001-$1 million              [ $100,000,001-$500 million
                                                                                                                         More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of      Q   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                         Q   I have been authorized to file this petition on behalf of the debtor.

                                         Q   I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on 10/01/2020
                                                         _________________



                                         8 /s/ Thomas Renker                                               7KRPDV5HQNHU
                                                                                                          _______________________________________________
                                                                                                          Printed name
                                              Signature of authorized representative of debtor

                                                  &KLHI2SHUDWLQJ2IILFHUDQG*HQHUDO&RXQVHO
                                             Title _________________________________________




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Debtor
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             _______________________________________________________                 Case number   (if known)_____________________________________
              Name




 18.   Signature of attorney        8    /s/ Corinne Ball
                                        ___________________________________________
                                                                                                Date
                                                                                                           10/01/2020
                                                                                                           _________________
                                                                                                           MM / DD / YYYY
                                        Signature of attorney for debtor



                                        &RULQQH%DOO
                                       _________________________________________________________________________________________________
                                       Printed name
                                        -RQHV'D\
                                       _________________________________________________________________________________________________
                                       Firm name
                                         9HVH\6WUHHW
                                       _________________________________________________________________________________________________
                                       Number     Street
                                          1HZ<RUN
                                       ____________________________________________________
                                                                                                      1<            
                                                                                                      ____________ ______________________________
                                       City                                                           State        ZIP Code

                                         
                                       ____________________________________                            FEDOO#MRQHVGD\FRP
                                                                                                      __________________________________________
                                       Contact phone                                                  Email address



                                        
                                       ______________________________________________________  1<
                                                                                              ____________
                                       Bar number                                             State




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